                             UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF TENNESSEE
                                  NASHVILLE DIVISION


UNITED STATES OF AMERICA                          )
                                                  )
v.                                                )           No. 3:11-00194
                                                  )           JUDGE CAMPBELL
STERLING RENEVA RIVERS                            )


                                              ORDER

       Pending before the Court are numerous under-seal filings by the Defendant (Docket Nos.

1398-1403) requesting authority to subpoena certain witnesses for the trial in this case, set for

August 27, 2013. The Court has granted some of the requested subpoenas. To the extent any

subpoenaed witness objects to testifying at trial, the witness shall file a motion to quash the

subpoena. Any motions to quash shall be heard on August 15, 2013 at 9:00 a.m.

       The Court notes that the Government and Defendant Rivers may seek to call some of the

same witnesses at trial. The Government shall be prepared to address this issue.

       It is so ORDERED.



                                                      TODD J. CAMPBELL
                                                      UNITED STATES DISTRICT JUDGE




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